                                   Case 1:21-cr-00407-DLF Document 6 Filed 06/11/21 Page 1 of 1
 AO 442 (Rev. 11/11) Arrest Warrant



                                                             UNITED STATES DISTRICT COURT
                                                                                                          for the

                                                                                                   District of Columbia

                          United States of America
                                     v.
                                                                                                            ~     Case: 1:21-mj-00462
                                   Daryl Johnson                                                            )     Assigned To : Meriweather; Robin M.
                                                                                                            )     Assign. Date: 6/4/2021
                                                                                                            )     Description: COMPLAINT WI ARREST WARRANT
                                                                                                            )
                                     Defendant


                                                                                                  ARREST WARRANT
To:          Any authorized law enforcement officer

             YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)            D..•..•
                                          ...•. a.•.•.cy-r'-l...,Jo•.•.•.h.•.•.
                                                                            n.....,s....,o.n
                                                                                           •.•.                                                                                    _
who is accused of an offense or violation based on the following document filed with the court:

o    Indictment                    0 Superseding Indictment                                         0 Information       0 Superseding Information                 ]IIComplaint
o    Probation Violation Petition                                       0 Supervised Release Violation Petition                    o Violation Notice             0 Order of the Court

This offense is briefly described as follows:

18 U.S.C.         § 1752(a)(1)- Entering and Remaining in a Restricted Building;
18 U.S.C.         § 1752(a)(2)- Disorderly and Disruptive Conduct in a Restricted Building;
40 U.S.C.         § 5104(e)(2)(D)- Violent Entry and Disorderly Conduct in a Capitol Building;
40 U.S.C.         § 5104(e)(2)(G)- Parading, Demonstrating, or Picketing in a Capitol Building



Date: __              =06~/~04~/2=O=2=1
                                     __
                                                                                                                            P~    +---        2021.06.04
                                                                                                                                              16:37:43 -04'00'

                                                                                                                                    Issuing officer's signature


City and state:                           Washington, D.C.                                                          Robin M. Meriweather, U.S. Magistrate Judge
                                                                                                                                     Printed name and title


                                                                                                         Return

             This warrant was received on (date)    CtJ/4 /.) \                                                 , and the person was arrested on (date)           Co / "/.)   \
                                                          •
at (city   and state) So.~t\T ~ 'AS,) &.Y'", >-ow'"

Date:          ~/"
                  ,
                          /t1. \
                          I
